                Case 2:16-cv-02604-FMO-RAO Document 23 Filed 06/01/17 Page 1 of 4 Page ID #:120



                          1   THOMAS P. QUINN, JR. (State Bar No. 132268)
                          2   NOKES & QUINN
                              410 BROADWAY, SUITE 200
                          3   LAGUNA BEACH, CA 92651
                          4   Tel: (949) 376-3500
                              Fax: (949) 376-3070
                          5
                              Email: tquinn@nokesquinn.com
                          6   Attorneys for Defendant EQUIFAX INFORMATION SERVICES LLC
                          7
                                                IN THE UNITED STATES DISTRICT COURT
                          8                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                          9
                              KENNETH THOMAS PEREZ,                    )   Case No: 2:16-cv-02604-FMO-RAO
                      10                                               )
                                                                       )
                      11                      Plaintiff,               )
                                                                       )   NOTICE OF SETTLEMENT
                      12                                               )   BETWEEN PLAINTIFF AND
                              vs.                                      )
                      13                                               )   DEFENDANT EQUIFAX
                                                                       )   INFORMATION SERVICES LLC
                      14      AFNI, et al.,                            )
                                                                       )
                      15                                               )
                                                                       )
                      16                      Defendants.              )
                                                                       )
                      17
                      18            PLEASE TAKE NOTE THAT Plaintiff Kenneth Thomas Perez
                      19      (“Plaintiff”) and Defendant Equifax Information Services LLC (“Equifax”) have
                      20      reached an agreement on all material terms required to settle all of Plaintiff’s
                      21      claims against Equifax pending in this action.
                      22            The terms of the settlement agreement have been completed and Equifax is
                      23      working to obtain Plaintiff’s signature on a Stipulation for Dismissal with
                      24      Prejudice of the claims asserted against Equifax.
                      25            Respectfully submitted this June 1, 2017
                      26      ///
                      27      ///
                      28      ///
                              ______________________________________________________________________________
   NOKES & QUINN                                                   -1–
410 Broadway, Suite 200
Laguna Beach, CA 92651                                     NOTICE OF SETTLEMENT BETWEEN PLAINTIFF AND
    (949) 376-3500
                                                          DEFENDANT EQUIFAX INFORMATION SERVICES LLC
                Case 2:16-cv-02604-FMO-RAO Document 23 Filed 06/01/17 Page 2 of 4 Page ID #:121



                          1                                      NOKES & QUINN
                          2
                                                                 /s/ Thomas P. Quinn, Jr.
                          3                                      THOMAS P. QUINN, JR.
                                                                 Attorneys for Defendant
                          4                                      EQUIFAX INFORMATION SERVICES
                                                                 LLC
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                              ______________________________________________________________________________
   NOKES & QUINN                                                   -2–
410 Broadway, Suite 200
Laguna Beach, CA 92651                                     NOTICE OF SETTLEMENT BETWEEN PLAINTIFF AND
    (949) 376-3500
                                                          DEFENDANT EQUIFAX INFORMATION SERVICES LLC
                Case 2:16-cv-02604-FMO-RAO Document 23 Filed 06/01/17 Page 3 of 4 Page ID #:122



                          1
                                                        CERTIFICATE OF SERVICE
                          2
                          3         I, the undersigned, certify and declare that I am over the age of 18 years,
                          4   employed in the County of Orange, State of California, and not a party to the
                          5   above-entitled cause.
                          6         On June 1, 2017, I served a true copy of NOTICE OF SETTLEMENT
                          7   BETWEEN PLAINTIFF AND DEFENDANT EQUIFAX INFORMATION
                          8   SERVICES LLC;
                          9         [ ]    By personally delivering it to the persons(s) indicated below in the
                      10      manner as provided in Federal Rule of Civil Procedure 5(B);
                      11            [ ]    By depositing it in the United States Mail in a sealed envelope with the
                      12      postage thereon fully prepaid to the following:
                      13                                   Kenneth Thomas Perez
                      14                                      General Delivery
                                                           535 Box Canyon Road
                      15                               Canoga Park, CA 91304-9998
                      16                                       Pro Se Plaintiff
                                    [X]    By ECF: On this date, I electronically filed the following document(s)
                      17
                              with the Clerk of the Court using the CM/ECF system, which sent electronic
                      18
                              notification of such filing to all other parties appearing on the docket sheet;
                      19
                                    I hereby certify that I am employed in the office of a member of the Bar of
                      20
                              this Court at whose direction the service was made.
                      21
                                    I hereby certify under the penalty of perjury under the laws of the State of
                      22
                              California that the foregoing is true and correct.
                      23
                                                                      /s/ Thomas P. Quinn, Jr.
                      24
                                                                      THOMAS P. QUINN, JR.
                      25
                              Place of Mailing: Laguna Beach, California.
                      26
                              Executed on June 1, 2017, at Laguna Beach, California.
                      27
                      28

                              ______________________________________________________________________________
   NOKES & QUINN                                                   -3–
410 Broadway, Suite 200
Laguna Beach, CA 92651                                     NOTICE OF SETTLEMENT BETWEEN PLAINTIFF AND
    (949) 376-3500
                                                          DEFENDANT EQUIFAX INFORMATION SERVICES LLC
                Case 2:16-cv-02604-FMO-RAO Document 23 Filed 06/01/17 Page 4 of 4 Page ID #:123



                          1                                 SERVICE LIST
                          2
                          3   Kenneth Thomas Perez
                          4   General Delivery
                              535 Box Canyon Road
                          5   Canoga Park, CA 91304-9998
                          6   Pro Se Plaintiff
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                              ______________________________________________________________________________
   NOKES & QUINN                                                   -4–
410 Broadway, Suite 200
Laguna Beach, CA 92651                                     NOTICE OF SETTLEMENT BETWEEN PLAINTIFF AND
    (949) 376-3500
                                                          DEFENDANT EQUIFAX INFORMATION SERVICES LLC
